    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 1 of 21 PageID #: 217
 

                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


PATH TO RICHES, LLC, directly and     :
derivatively on behalf of M.M.T.      :
DIAGNOSTICS (2014), LTD.,             :
               Plaintiff,             :
                                      :
                 v.                   :
                                      :                                 CIVIL ACTION
CARDIOLYNC, INC., GAMLIEL KAGAN       :                                 No. 17-161
a/k/a/ GAM KAGAN, and DR. JACOB LEVY, :
            Defendants,               :
                                      :
     and                              :
                                      :
M.M.T. DIAGNOSTICS (2014), LTD.       :
a/k/a GAM KAGAN, and DR. JACOB LEVY, :
            Nominal Defendant.        :


McHUGH, J.                                                                     February 21, 2018
                                           MEMORANDUM

        This is a dispute over whether one Israel-based company improperly obtained confidential

and proprietary information from another. Plaintiff Path to Riches purports to bring direct and

derivative claims on behalf of MMT, an Israeli company in which it holds a majority share, against

Defendants CardioLync and its owners. Defendants now move to dismiss based on lack of personal

jurisdiction, lack of subject matter jurisdiction, and forum non conveniens. Without deciding either

jurisdictional issue, I find that Israel is an adequate alternative forum for this dispute, and that the

deference owed to Plaintiff’s choice of forum is outweighed by the substantial private and public

interests in holding this proceeding in Israel. Specifically, all of the parties and essential non-party

witnesses are either Israeli residents or have significant ties to Israel; two of the three companies are

based there; and Israeli law likely governs most of Plaintiff’s claims. Accordingly, Defendants’

motion to dismiss will be granted on FNC grounds.



                                                     1
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 2 of 21 PageID #: 218
 

I. Background

        This case arises from Plaintiff Path to Riches, LLC’s (PTR’s) allegation that Defendants

Gamliel Kagan (Gam) and Jacob Levy (Dr. Levy), through their company, Defendant CardioLync,

misappropriated proprietary information belonging to M.M.T. Diagnostics (2014), Ltd., by inducing

MMT’s CEO to breach his contractual and fiduciary duties. Because I ultimately decide this

motion on FNC grounds, the location of and relationship among the parties and witnesses are of

primary importance.

        PTR is a limited liability company organized under the laws of Delaware and based in New

York state. It is wholly owned by Dr. and Ms. Minkowitz, non-parties whose primary residence is

in New York. The Minkowitzes have a second home in Israel, where they visit each year for

extended periods and where their children attend school. Their neighbor in Israel is Jeremy Kagan,

an Israeli who is not a party but around whom this dispute centers. Jeremy’s brother is Defendant

Gam, who also resides in Israel.

        In 2013, Jeremy and Dr. Minkowitz entered into a telemedicine business venture, which the

pair would eventually incorporate under the laws of Israel as MMT. (MMT is named as both a

plaintiff and a nominal defendant in this action.) MMT initially focused on pathology, but

according to PTR, hoped to expand into other fields, including cardiology. Jeremy owns 40 percent

of MMT, and PTR (the Minkowitzes’ company) owns the remaining 60 percent. Although MMT’s

incorporation documents provide for a five-member board of directors—three to be appointed by

Dr. Minkowitz and two by Jeremy—Jeremy is the sole board member. Schreiber Decl. ¶ 22, ECF

No. 14. In 2014, Jeremy also became the CEO of MMT via an employment agreement created

under the laws of Israel. He remained in that post through 2015.

        Although MMT is based in Israel, PTR alleges that Jeremy and Dr. Minkowitz agreed in

August 2015 to hire two people to work on MMT’s product in New York. Jeremy allegedly refused


                                                 2
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 3 of 21 PageID #: 219
 

to cooperate with these employees or speak with them by phone, and “never traveled to the United

States to visit” them. Compl. ¶ 44. PTR alleges that in November 2015, “as a result of Gam’s

funding,” a cease and desist letter was served upon Dr. Minkowitz and the New York employees

claiming they were misappropriating MMT’s confidential information. Then, on January 26, 2016,

Jeremy filed a lawsuit individually and on behalf of MMT in New York state court alleging that Dr.

Minkowitz had formed a new company and was misappropriating MMT’s intellectual property.

        In this lawsuit, PTR alleges the opposite. On the same day that Jeremy sued Dr. Minkowitz,

Gam and Dr. Levy (a cardiologist who is Jeremy’s brother-in-law), incorporated CardioLync in

Delaware—Gam and Dr. Levy are its shareholders and directors. CardioLync is a cardiology

telemedicine company based in Israel, and PTR alleges that it targets the same market as MMT.

PTR claims that Gam and Dr. Levy, through CardioLync, misappropriated MMT’s proprietary

information by inducing Jeremy to breach his fiduciary duties and employment agreement with

MMT. PTR brings one federal and nine state claims “directly and derivatively” on behalf of

MMT.1

        Defendants now move to dismiss for lack of subject-matter jurisdiction, lack of personal

jurisdiction over Gam and Dr. Levy, and on the basis of FNC, arguing that Israel is the more

appropriate forum. Central to Defendants’ subject matter jurisdiction argument is their claim that

PTR lacks standing because it has not complied with Israeli requirements for bringing a

shareholder’s derivative action on behalf of MMT. The parties have provided dueling affidavits as

to what Israeli law requires and whether PTR should be exempted from Israel’s pre-suit demand

requirement. Schreiber Decl. ECF No. 14; Stein Decl. ECF No. 22.



                                                            
1
  PTR asserts the following claims: Misappropriation of Trade Secrets Under the Defense of Trade Secrets Act,
18 U.S.C. § 1836 (2016), Tortious Interference with Contractual Relations and with Prospective Economic
Advantage, Usurpation of Corporate Opportunities, Aiding and Abetting Breaches of Fiduciary Duties, Civil
Conspiracy, Unjust Enrichment, Champerty, Maintenance, and Constructive Trust.

                                                       3
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 4 of 21 PageID #: 220
 

II. Standard

        Although Defendants raise multiple grounds for dismissal, this case calls for resolution of

only one: forum non conveniens (FNC). The FNC doctrine empowers federal courts to dismiss an

action when “a foreign tribunal is plainly the more suitable arbiter of the merits of the case.”

Sinochem Int’l Co. v. Malaysia Int’l Shipping Corp., 549 U.S. 422, 425 (2007). When deciding a

motion to dismiss that is based on FNC and other grounds, courts have “discretion to respond at

once to a defendant’s [FNC] plea, and need not take up first any other threshold objection.” Id.

Thus, where “considerations of convenience, fairness, and judicial economy so warrant,” courts

may exercise their discretion to dismiss on FNC grounds without deciding any jurisdictional

questions. Id. In this case, FNC considerations “weigh heavily in favor of dismissal”—as explained

below—and the existence of subject-matter and personal jurisdiction is “difficult to determine.”2

See Sinochem, 549 U.S. at 436. I therefore “take the less burdensome course” and dismiss on FNC

                                                            
2
  Without deciding either jurisdictional question, I note that the grounds for both personal and subject-matter
jurisdiction are tenuous. On personal jurisdiction, Delaware law makes clear that Defendants Levy and Gam’s
status as shareholders or as directors of CardioLync is an insufficient basis for personal jurisdiction under the
state’s long-arm statute, Del. Code Ann. tit. 10, § 3104 (West 2008). See Venoco, Inc. v. Marquez, 2003 WL
21026787, at *3 (D. Del. 2003) (citing Pestolite, Inc. v. Cordura Corp., 449 A.2d 263, 267 (Del. Super. 1982)).
The allegation that Levy and Gam incorporated CardioLync in Delaware could be enough, but only if that
“purposeful” act of incorporation “is an integral component of the total transaction to which plaintiff’s cause of
action relates.” See MIG Investments LLC v. Aetrex Worldwide, Inc., 852 F. Supp. 2d 493, 504 (D. Del. 2012); see
also Cairns v. Gelmon, 1998 WL 276226, *3 n.4 (Del. Ch. 1998). It is not at all clear that Levy and Gam’s
incorporation of CardioLync is an integral component of all (or any) of PTR’s claims.

          As to subject-matter jurisdiction, PTR has alleged a patently inadequate basis for diversity jurisdiction, as
complete diversity is unquestionably lacking; both the plaintiff and defendant corporations (PTR and CardioLync)
are incorporated in, and therefore “reside” for purposes of diversity jurisdiction, in Delaware. Although the
companies’ ties to Delaware are limited to their incorporation there—a feebleness that will be relevant to the FNC
analysis—those limited ties are enough to establish corporate residency, and therefore destroy diversity, for §
1332 jurisdiction. (PTR correctly notes that Defendants have not challenged diversity jurisdiction, see Pl.’s
Answering Br. 10 n.4, ECF No. 21 [hereinafter “Pl.’s Resp.”]; however, courts have an independent duty to
determine if subject-matter jurisdiction exists, even without a challenge by a party, Arbaugh v. Y & H Corp., 546
U.S. 500, 514 (2006).) Therefore, the only possible basis for subject-matter jurisdiction is federal question
jurisdiction under the Defense of Trade Secrets Act (DTSA), which is also questionable. See 18 U.S.C. § 1836.
Although there is very limited case law interpreting this young statute, Defendants raise two plausible deficiencies
in the DTSA claim, Plaintiff’s sole basis for federal jurisdiction. First, PTR has no statutory standing under the
DTSA because MMT (a non-party)—not PTR—is the “owner” of any trade secret, see § 1839(4); and second, a
fact-intensive objection that MMT’s “product” remains in nascent stages of development such that it would not be
protected by the DTSA, see § 1836(b)(1). See Defs.’ Mot. Dismiss 8–9, ECF No. 13 [hereinafter “Defs.’ MTD”].

                                                          4
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 5 of 21 PageID #: 221
 

grounds alone. See id.

         FNC is a discretionary tool that empowers a district court “to dismiss an action on the

ground that a court abroad is the more appropriate and convenient forum for adjudicating the

controversy.” Id. at 425. The doctrine arises from a concern that plaintiffs sometimes attempt to

force a trial at a “most inconvenient place for an adversary, even at some inconvenience to [the

plaintiff],” in order to inflict upon an adversary “expense or trouble not necessary to [the plaintiff’s]

own right to pursue his remedy.” Lony v. E.I. Du Pont de Nemours & Co., 935 F.2d 604, 615 (3d

Cir. 1991) (citing Gulf Oil Corp. v. Gilbert, 330 U.S. 501, 507 (1947)).

         To decide whether FNC is appropriate, district courts engage in a three-step analysis. First,

the court must determine “whether an adequate alternate forum” exists to entertain the case.

Eurofins Pharma US Holdings v. BioAlliance Pharma SA, 623 F.3d 147, 160 (3d Cir. 2010). If so,

the court must next determine “the appropriate amount of deference to be given the plaintiff’s

choice of forum.” Id. Finally, the court must weigh “the relevant public and private interest

factors”—discussed below—to determine whether, on balance, “trial in the chosen forum would

result in oppression or vexation to the defendant out of all proportion to the plaintiff’s

convenience.” Id. If so, or if the chosen forum is “inappropriate” in light of the court’s own

“administrative and legal problems,” the court “may, in its discretion,” dismiss the case.3 Windt v.

Qwest Commc’ns Int’l, Inc., 529 F.3d 183, 189 (3d Cir. 2008) (citing Koster v. (Am.) Lumbermens

Mut. Cas. Co., 330 U.S. 518, 524 (1947)).

         As defendants seeking dismissal on the basis of FNC, Gam, Dr. Levy, and CardioLync bear

the burden of persuasion as to all elements of the FNC analysis, see Lacey v. Cessna Aircraft Co.,

                                                            
3
  This analysis applies FNC principles under federal law. The Supreme Court has not yet resolved the Erie
question of whether federal courts sitting in diversity should apply state or federal FNC rules, Piper Aircraft Co. v.
Reyno,, 454 U.S. 235, 249 n.13 (1981), and there is no guidance from the Third Circuit. Because I find no basis
for Plaintiff’s allegation that diversity jurisdiction exists, federal question is the only possible grounds for subject-
matter jurisdiction, and therefore I apply federal FNC rules. No party argues for the application of Delaware FNC
rules. See, e.g., Defs.’ MTD 19; Pl.’s Resp. at 21–22.

                                                           5
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 6 of 21 PageID #: 222
 

862 F.2d 38, 43–44 (3d Cir. 1988) (Lacey I), and there is generally a “strong presumption” in favor

of the plaintiff’s choice of forum,” Piper, 454 U.S. at 255. That presumption, however, “applies

with less force when the plaintiff or real parties in interest are foreign.” Id.

        In performing this FNC analysis, the court “generally becomes entangled in the merits” to

the extent required to “scrutinize the substance of the dispute.” Van Cauwenberghe v. Biard, 486

U.S. 517, 528 (1988). However, this “does not call for a detailed development of the entire case” or

“require extensive investigation”—instead, the court may rely on the parties’ affidavits. Lony, 935

F.2d at 614 (citations omitted). In fact, motions to dismiss based on FNC should be decided “at an

early stage in the litigation, so that the parties will not waste resources on discovery and trial

preparation in a forum that will later decline to exercise its jurisdiction over the case.” See Lony,

935 F.2d at 614. Accordingly, Defendants’ motion is appropriately decided now, before discovery

has taken place and when relatively limited resources have been spent.

III. Analysis

        Through several rounds of briefing containing undisputed facts and numerous affidavits,

Defendants have satisfied their burden to show that an adequate alternative forum exists, and that

the relevant private and public interests outweigh the deference owed to PTR’s forum choice.

     A. Adequate Alternative Forum

        Defendants have met their burden to show that an adequate alternative forum exists because

all of them are or soon will be Israeli residents and, moreover, have consented to personal

jurisdiction there. In Piper, the Supreme Court explained that “[o]rdinarily, [the alternative forum]

requirement will be satisfied when the defendant is amenable to process in the other jurisdiction.”

454 U.S. at 255 n.22. Here, Gam’s residence and CardioLync’s principal place of business is Israel.

Compl. ¶¶ 6–7, Defs.’ MTD 20. (MMT—not a party but a nominal defendant and the real party in

interest to Plaintiff—is also an Israeli company incorporated and based there.) Dr. Levy currently


                                                     6
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 7 of 21 PageID #: 223
 

resides in the state of Georgia but plans to relocate to Israel permanently to join his family there

within the month.4 Levy Suppl. Decl. 1, ECF No. 36. Moreover, all of the Defendants “would

consent to the exercise of in personam jurisdiction over them by Israeli courts as a condition for

dismissal of this proceeding under FNC.” Defs.’ Reply 3, ECF No. 25. The parties’ undisputed

residence in and consent to jurisdiction in Israel satisfies their duty to show that an alternative

forum exists. See Eurofins, 623 F.3d at 154 n.9. (affirming that France was an adequate alternative

forum where “each of the defendants [was] amenable to service of process . . . [and] none of the

defendants [would] contest personal jurisdiction there”); Dahl v. United Techs. Corp., 632 F.2d

1027, 1029 (3d Cir. 1980) (affirming FNC dismissal where defendant had consented to personal

jurisdiction in Norway, despite plaintiffs’ objection that defendant was “not really present there”);

see also Kisano Trade & Invest Ltd. v. Lemster, 737 F.3d 869, 873 n.1 (3d Cir. 2013) (stating in

dicta that Israel was an adequate alternative forum, despite plaintiff’s contention that defendants

would not be amenable to suit there, where defendants consented to Israeli jurisdiction).

        But PTR argues that Defendants must do more to meet their burden. Plaintiff asserts that

Defendants, in order to show that an adequate alternative forum exists, must prove not only that

they are amenable to process in Israel, but also that there is an adequate cause of action under Israeli

law that provides redress for Plaintiff’s injury. Pl.’s Resp. 23; Pl.’s Sur-Reply 6–7, ECF No. 30. It

is possible, albeit rare, for a plaintiff to show that an alternative forum is inadequate, despite

defendants’ amenability to service there—but there is nothing in the record to suggest that is the

case here. In Piper’s often-cited footnote 22, the Supreme Court explained that in “rare

circumstances . . . where the remedy offered by the other forum is clearly unsatisfactory, the other

forum may not be an adequate alternative.” 454 U.S. at 254 n.22. This burden is not a light one.
                                                            
4
  PTR asserts, without citing any legal basis, that Israeli courts might refuse to assert jurisdiction over Dr. Levy in
spite of his consent. Putting aside for the moment that courts routinely allow FNC dismissal based on defendants’
consent to jurisdiction in the alternative forum, Dr. Levy’s imminent relocation to Israel should assuage any
genuine concern by PTR on this point.

                                                           7
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 8 of 21 PageID #: 224
 

For example, the fact that the alternative forum provides for only limited discovery relative to that

available in United States is not by itself enough to render the forum inadequate. See Eurofins, 623

F.3d at 161. Rather, Piper specified that an alternative forum would be inadequate if the record

shows that the “forum does not permit litigation of the subject matter of the dispute.” 454 U.S. at

254 n.22.

        Here, Plaintiff has presented no evidence, or even argument, that a legal remedy would be

unavailable to it in Israel. Instead, PTR seeks to reverse Piper’s language to impose an affirmative

duty on Defendants to show that Israel permits litigation of PTR’s claims. But the Piper Court

made clear in its plain language and by reference to a case as an exemplar, that although courts may

properly consider a plaintiff’s evidence that there is no remedy in the alternative forum, the

defendant has no affirmative duty show that a remedy exists. See id. (citing Phoenix Canada Oil

Co. Ltd. v. Texaco, Inc., 78 F.R.D. 445 (Del. 1978) (denying FNC where plaintiff’s affidavits

showed a complete lack of legal remedies under Ecuadorian tort law for two of plaintiff’s three

legal theories)); see also Eurofins, 623 F.3d at 161 (rejecting plaintiff’s argument that France was

an inadequate forum because of its limited discovery rules).

        To support its expanded view of Defendants’ burden, PTR relies on a single district court

case: H.Y.C. v. Hyatt Hotels Corp. See Pl.’s Resp. 23 (citing H.Y.C., 2016 WL 107924, *2 (D. Del.

2016)). H.Y.C., in turn, relies on another district court case. See id. (citing Lynch v. Hilton

Worldwide, Inc., 2011 WL 5240730, at *2 (D.N.J. 2011)). This trail of citation breadcrumbs can

eventually be followed back to its precedential source: Piper’s footnote 22. See 454 U.S. at 255

n.22. The precedential value of these cases are questionable, because, as discussed above, Piper

imposes no duty on defendants to prove that a remedy exists in the alternate forum, and makes clear

that, in the rare circumstances when a forum is deemed inadequate in spite of defendants’

amenability to process there, it is because plaintiffs have presented evidence that the forum provides


                                                    8
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 9 of 21 PageID #: 225
 

no remedy.

        Because PTR itself has presented no evidence that its legal remedies are unavailable in

Israel—and because I find no basis for Plaintiff’s assertion that Defendants must show the

sufficiency of PTR’s Israeli remedies—I easily conclude that Defendants’ consent to the

jurisdiction of Israeli courts renders that country an adequate alternative forum for this dispute.

     B. Deference to Plaintiff’s Choice of Forum

        Having held that an alternative forum is available, I next decide how much deference to

afford PTR’s choice of forum. See Eurofins, 623 F.3d at 160. There is “ordinarily a strong

presumption in favor of the plaintiff’s choice of forum” and plaintiff’s choice “should rarely be

disturbed.” Piper, 454 U.S. at 241. That presumption, however, “applies with less force when the

plaintiff or real parties in interest are foreign.” Id. at 255. Courts give foreign plaintiffs less

deference not because of “xenophobia, but merely [out of] a reluctance to assume that the choice is

a convenient one.” Lacey v. Cessna Aircraft Co., 932 F.2d 170, 179 (3d Cir. 1991) (Lacey II) (citing

Lony, 886 F.2d at 634). This reluctance “can readily be overcome by a strong showing of

convenience” by the plaintiff. Id.

        Defendants argue that PTR’s choice of forum deserves “little or no deference” because it

brings this action merely as a shareholder of MMT (a foreign corporation) and should therefore be

treated as a foreign plaintiff for purposes of FNC. Defs.’ MTD 20–21. Defendants also argue that

PTR is based in New York and is “fully owned and controlled by New York residents,” “nearly all

of the facts giving rise to the Complaint” occurred in a foreign country, “none of the parties have

any connection to Delaware,” and “the dispute lacks any material connection to this forum.” Defs.’

MTD 20–21; Defs.’ Reply 1–2. In response, PTR simply counters that it is “entitled to a high

degree of deference” because it is a Delaware company “that operates in New York and its owners

both reside in the United States.” Pl.’s Resp. 22.


                                                     9
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 10 of 21 PageID #: 226
 

        Although I reject Defendants’ assertion that PTR’s forum choice warrants “no deference,”

several factors weigh against affording full deference to PTR. Most importantly, MMT—an Israeli

corporation—is a real party in interest and may be the only real party in interest this case. In cases

like this, where a shareholder brings suit “derivatively in the name of a corporation, the Supreme

Court has held that the corporation is the real party in interest” and the shareholder is “at best the

nominal plaintiff.” See Gatz v. Ponsoldt, 297 F. Supp. 2d 719, 733 (D. Del. 2003) (citing Ross v.

Bernhard, 396 U.S. 531, 538–39 (1970)) (discussing the real party in interest to derivative actions

in a subject-matter jurisdiction analysis); see Koster, 330 U.S. at 522–23 (holding that when a

shareholder brings a derivative action, the cause of action “is not his own but the corporation’s”—

the corporation is “the real party in interest and he is allowed to act in protection of its interest”).5

Because MMT is a real party in interest to this case and is a foreign company, the presumption in

favor of its choice of forum applies with less force. See Piper, 454 U.S. at 255.

        Moreover, MMT is likely the only real party in interest, as PTR has not alleged a basis for

its direct claims and failed to respond to Defendants’ argument that this is purely a derivative

action. Piper requires the court to identify the real parties in interest in order to determine the

appropriate level of deference to the plaintiff’s forum. See 454 U.S. at 255. Here, that question

depends on whether PTR is bringing direct—in addition to derivative—claims. See Koster, 330 U.S.

at 522–23. PTR styles its Complaint as both a direct and derivative action on behalf of MMT, but

                                                            
5
  I note that, while this prevailing Supreme Court precedent would classify MMT as the real party in interest, there
are divergent philosophies as to whether the corporation on whose behalf a derivative action is brought is more
closely aligned with—and therefore the real party in interest to—the plaintiff or the defendant in that action. See
generally Subject-Matter Jurisdiction in Shareholder-Derivative Actions—Status, Citizenship, and Alignment of
the Corporation in Diversity Cases, 7C Wright & Miller Fed. Prac. & Proc. Civ. § 1822 nn.12, 13 (3d ed.) (2017)
(discussing these conflicting perspectives in the context of subject-matter jurisdiction analyses in shareholder
derivative actions). However, since the FNC analysis generally is a balancing test, and the specific question of
deference to plaintiff’s forum is a “sliding scale” of convenience, MMT’s Israeli connections (its incorporation
and principal place of business) would be relevant even if I were to consider MMT as a real party in interest to
Defendants, rather than to PTR. See Kisano, 737 F.3d at 875 (citing with approval the “sliding scale” convenience
analysis set forth in Iragorri v. United Techs. Corp., 274 F.3d 65, 71 (2d Cir. 2001)).


                                                        10
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 11 of 21 PageID #: 227
 

to determine whether PTR is a real party in interest (by virtue of a valid direct claim) or merely a

nominal plaintiff in its derivative claim (leaving MMT as the sole real party in interest), I must first

determine what law governs the question of when MMT shareholders like PTR may bring a direct

claim against MMT. Although the judiciary’s interest in not having to “untangle problems in

conflict of laws,” is one basis justifying this FNC dismissal, a choice-of-law analysis on this narrow

issue is essential. See Piper, 454 U.S. at 251.

        Here, where the only possible basis for subject-matter jurisdiction is federal question

jurisdiction, the court must “look to federal choice of law principles” to determine whether state or

federal common law governs. See Bhd. of Locomotive Eng’rs v. Springfield Terminal Ry. Co., 210

F.3d 18, 25 (1st Cir. 2000) (cited with approval by the Third circuit in Doyle v. Se. Pennsylvania

Transp. Auth., 398 F. App’x 779, 783 n.4 (3d Cir. 2010)); see also Burks v. Lasker, 441 U.S. 471,

476 (1979) (“Since we proceed on the premise of the existence of a federal cause of action, it is

clear that our decision is not controlled by [Erie], and state law does not operate of its own force.”).

Those federal principles counsel that “corporations are creatures of state law” and “the first place

one must look” to determine questions of corporate governance “is in the relevant State’s

corporation law.” Burks, 441 U.S. at 477–78. Since MMT is a creature of Israeli law, Israeli

corporation law defines the contours of derivative and direct actions against MMT.6

        The parties must carry “the burden of adequately proving foreign law to enable the court to

apply it.” Bel-Ray Co. v. Chemrite (Pty) Ltd., 181 F.3d 435, 440 (3d Cir. 1999). PTR has not.

Plaintiff does not allege or argue the basis for its direct claims under Israeli law (or any other law).

In fact, very few of PTR’s allegations involve PTR at all, and most of those are legal conclusions

unsupported by factual allegations. See, e.g., Compl. ¶¶ 68 (“Defendants have used . . . MMT’s
                                                            
6
  Defendants’ choice of law analysis, with which PTR seems to go along, applies Delaware choice-of-law rules
(apparently assuming this case rests on diversity jurisdiction), but nevertheless arrives at Israeli law, via
Delaware’s internal affairs doctrine, as the relevant source of law for corporate governance questions like this. See
Defs.’ MTD 9–10, Pl.’s Resp. 10–11 (discussing Israel’s pre-suit demand requirements).

                                                         11
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 12 of 21 PageID #: 228
 

confidential information to the detriment of [PTR].”), 69 (“Through the actions of the Defendants,

[PTR] and MMT were damaged.”). Exacerbating this deficiency, PTR has been silent in response

to Defendants’ repeated arguments that this case is a derivative action only. See Defs.’ MTD 20

(“Plaintiff has brought this action merely as a shareholder of MMT, an Israeli entity.”); Defs.’

Reply 3 n.1 (“Deference to PTR’s choice of forum is also inappropriate in a case like [this] one

which is a stockholder’s derivative suit.”).

        Absent any assistance from PTR in applying the relevant foreign law, my own review of

Israel’s Companies Law, 5759-1999 (translated to English from Hebrew), reveals that it recognizes

a distinction between direct and derivative actions, but provides no guidelines for distinguishing

between them. Without any discernable facts suggesting that PTR has suffered harm that is

different or apart from the harm it alleges MMT has suffered—or guidance from PTR suggesting

that Israeli corporation law provides a different basis for direct claims—I conclude that PTR brings

only derivative claims. As such, the real party in interest is MMT, a foreign corporation entitled to

lesser deference. However, because I ultimately conclude that the balance of conveniences tips

decidedly toward FNC dismissal even if the action includes a valid direct claim, and PTR is thus a

real party in interest, the question is non-dispositive.

        Having identified the factors that cut against full deference to PTR’s forum choice,7 I now

review whether PTR has made a showing of convenience (either for itself or on behalf of MMT) to

counter them. In an FNC inquiry, a district court “must assess, and articulate, whether the

considerable evidence of convenience has . . . overcome any reason to refrain from extending full
                                                            
7
  In addition to identifying MMT as a foreign real party in interest, I also consider—but give far less weight to—
the Supreme Court’s counsel not to “overlook the peculiarities” of derivative actions and to afford lesser deference
to plaintiffs’ choice of forum in derivative actions. See Koster, 330 U.S. at 524–25. Citing Koster, Defendants
argue that “[d]eference to PTR’s choice of forum is . . . inappropriate” because this is a stockholder’s derivative
suit. Def.’s Reply 3 n.1. But Koster’s warning is most appropriately heeded in derivative cases “where there are
hundreds of plaintiffs, all equally entitled to voluntarily invest themselves with the corporation’s cause of action”
and where the plaintiff “has a small financial interest in a large controversy.” Koster at 523-24. Here, where PTR
is one of two shareholders in MMT (along with Jeremy), and is itself owned by only two people, Koster’s logic
applies with far less force.

                                                         12
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 13 of 21 PageID #: 229
 

deference to the foreign plaintiff’s choice.” Kisano, 737 F.3d at 875–76 (citations omitted). “This is

not a precise inquiry, but, generally, the greater the plaintiff’s or the lawsuit’s bona fide connection

to the United States and to the forum of choice and the more it appears that considerations of

convenience favor the conduct of the lawsuit in the United States, the more difficult it will be for

the defendant to gain [FNC] dismissal.” Id. PTR has made no such showing.

        The entirety of PTR’s convenience argument is that it is organized under Delaware law,

based in New York, and owned by New Yorkers. This is not enough. Although PTR is a creature

of Delaware law, its connection to the forum ends there. PTR has not alleged that it has buildings,

business, contracts, or any other connection in Delaware. For PTR’s owners, who live in New York

and have a second home in Israel, Delaware is admittedly closer than Israel, but is not their home

forum. PTR has pointed to no aspect of the case that relates to Delaware, other than the mere act of

CardioLync’s incorporation—no evidence, no parties, no contracts, and no controlling law. As I

discuss in more detail below, nearly all of the relevant parties (including MMT, a real party in

interest), non-party witnesses, and evidence are located in Israel, an ocean away. Moreover, MMT

was created by Israeli law, and Jeremy’s employment agreement was executed there.8 Even

assuming PTR is a party in interest, its organization under Delaware law—PTR’s sole tether to this

forum—does not represent a “bona fide connection” to Delaware sufficient to restore full deference

to its forum choice. See Kisano, 737 F.3d at 876 (agreeing that plaintiffs did not make a “strong

showing of convenience” where “the agency relationship was formed in Israel, all negotiations for

the [] deal took place in Israel, and most of the conduct for the claims at issue took place in Israel”).

        I must weigh all of these considerations to identify the appropriate deference to PTR’s

forum choice. The Third Circuit does not require courts “somehow to mark on a continuum the

precise degree of deference it accords a plaintiff’s choice”—indeed, it is “impossible to quantify”
                                                            
8
  Technically, the employment agreement was never signed but PTR alleges that “all parties operated in
accordance with its terms and treated it as binding in all respects.” Compl. ¶ 31.

                                                      13
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 14 of 21 PageID #: 230
 

the applicable level of deference. Lacey I, 932 F.2d at 179 (citation omitted). But it is clear that

imposing a “more stringent burden” on defendants by requiring them to establish “a strong

preponderance in favor of dismissal” satisfies the court’s duty. Id.; see also Eurofins, 623 F.3d at

161 n.15 (holding that the trial court had given the corporate plaintiff’s choice of forum its “due

deference” and balanced the relevant factors when it found that “the plaintiffs’ choice of a Delaware

forum [was] far outweighed by the burdens that a Delaware forum would impose on these

defendants”). I heed the Third Circuit’s warning that courts “should not assign talismanic

significance to the citizenship or residence of the parties” because “[t]he focus of the deference

inquiry in the Supreme Court, [and] in this Court . . . is on convenience, not on the particular

significance of a party’s residence or citizenship.” Kisano, 737 F.3d at 875. With that focus, I

afford less than full deference to MMT, as a foreign real party in interest. And, even assuming PTR

is a real party in interest, I afford only slightly more deference to it, as it has a one-dimensional

connection to this forum and presented no compelling reasons to think its forum choice was based

on convenience to it or MMT. Still, Defendants must establish a “strong preponderance in favor of

dismissal” through the relevant private and public interests. See Lacey I, 932 F.2d at 179.

      C. Private interests

         Defendants have identified compelling private interests that weigh heavily in favor of

Israel and against Delaware. In Gilbert, the Supreme Court identified the bounds of the private

interest analysis:

         Important considerations are the relative ease of access to sources of proof;
         availability of compulsory process for attendance of unwilling, and the cost of
         obtaining attendance of willing, witnesses; . . . and all other practical problems that
         make trial of a case easy, expeditious and inexpensive. There may also be questions
         as to the [enforceability] of a judgment if one is obtained. The court will weigh
         relative advantages and obstacles to fair trial.

330 U.S. at 508. To determine the relative ease of access to evidence and the availability of

witnesses, courts must “scrutinize the substance of the dispute . . . and determine whether the pieces

                                                    14
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 15 of 21 PageID #: 231
 

of evidence cited by the parties are critical, or even relevant to, the plaintiff’s cause of action and to

any potential defenses to the action.” Lacey I, 862 F.2d at 46. Defendants must provide “enough

information to enable the [Court] to balance the parties’ interests” but need not present affidavits

detailing the kinds of evidence and testimony that would be available to them in the alternative

forum but not in this forum. See Piper, 454 U.S. at 258 (stating that “such detail is not necessary”

and finding it sufficient that defendants had asserted that “crucial witnesses [were] located beyond

the reach of compulsory process, and thus [would be] difficult to identify or interview”).

        Within these limits, Defendants set out strong private interests in favor of Israel and against

PTR’s choice of forum. Defendants argue that, in contrast to the “utter lack of private interest

factors connected to Delaware,” nearly all of the evidence and witnesses, including the essential

(non-party) witness, Jeremy, are located in Israel, and that PTR’s owners (the Minkowitzes) have

already engaged Israeli counsel in this action. Defs.’ MTD 22; Defs.’ Reply 4–5. With all of the

major players—MMT, Jeremy, Gam, and (soon) Dr. Levy—based in Israel, I am convinced that

“fewer evidentiary problems would be posed” if the trial were held in Israel because it is safe to say

that a “large proportion of the relevant evidence” is located there. See Piper, 454 U.S. at 258.

Moreover, the operative MMT contract with Jeremy was executed in Israel and Jeremy, a non-party

whose conduct is at the center of this dispute, is subject to compulsory process there. See Eurofins,

623 F.3d at 162 (holding that the following tipped the balance in favor of litigation in France, the

alternative forum: that the “contract at issue was finalized and executed in France,” that nearly all of

the sources of proof were there, and that “the third-party at the center of this contract dispute

conducts business in France”).9

        Plaintiff’s private interest arguments in favor of Delaware and against Israel have either

                                                            
9
  It is also noteworthy, in terms of relative ease of access to proof, that “documents in English need not be
translated because Israel courts are typically proficient in English.” Kisano, 737 F.3d at 878.


                                                         15
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 16 of 21 PageID #: 232
 

been rendered moot or are significantly less weighty. PTR counters that Delaware is “the one place

where all Defendants are subject to the court’s personal jurisdiction,” that the Minkowitzes would

need to travel from New York for the trial—a more burdensome trip than to Delaware—and that the

“miscellaneous pieces of evidence” located in Israel can be obtained through the Hague Evidence

Convention. Pl.’s Resp. 25–26. But, as discussed above, all Defendants have consented to

jurisdiction in Israel, so an alternative forum exists. And while forcing the Minkowitzes to travel to

Israel, rather than to Delaware, for the trial is certainly a relevant private interest, the fact that they

are part owners of an Israeli corporation (MMT), maintain a home in Israel, and spend “extended

periods of time” there each year diminishes the burden the forum would otherwise impose. See

Jeremy Decl., ECF No. 27. Moreover, the Minkowitzes are not parties to the action but are instead

shareholders to the nominal plaintiff, PTR, itself a shareholder of the real party in interest.

        Finally, and most significantly, PTR’s assertion that there is important evidence in Delaware

and only “miscellaneous pieces of evidence” in Israel is unconvincing.10 The only potentially

relevant evidence PTR has identified in Delaware is CardioLync’s incorporation documents, which

are instantaneously available to any member of the public online.11 And while there may be some

relevant evidence outside of Israel, the Complaint and existing record suggests that the “great

majority of proof and witnesses” are in Israel, which weighs toward dismissal. See Eurofins, 623

F.3d at 162. PTR’s contention that it is possible to obtain evidence from Israel through the Hague

Evidence Convention only highlights how much less burdensome it would be to obtain that

                                                            
10
    For PTR’s claim on behalf of MMT, Koster’s guidance on the evidentiary realities in derivative actions is apt:
“It might well be that the books, records and witnesses to establish all or a part of the cause of action are in or near
the chosen forum. But in other cases they may all be in some distant jurisdiction, perhaps that of the defendants,
as in the case here. In the ordinary suit it is plaintiff’s own books and records and transactions that are
important—in the derivative action it is more likely that only the corporation’s books, records and transactions
will be important . . . .” 330 U.S. at 526.
11
   Basic information about CardioLync’s incorporation is available for free through Delaware’s Division of
Corporations: https://tinyurl.com/hwszf8v. A payment of $20 grants any member of the public immediate access
to CardioLync’s “status, tax, and history information.”

                                                          16
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 17 of 21 PageID #: 233
 

evidence without the aid of an international treaty by simply litigating the dispute in the forum

where the majority of evidence sits. I conclude that the private interests weigh heavily in favor of

dismissal.

      D. Public interests
         I am likewise persuaded that the public interests Defendants raise tilt decidedly in favor of

dismissal. Gilbert identified the public interests relevant to an FNC analysis:

         Administrative difficulties follow for courts when litigation is piled up in congested
         centers instead of being handled at its origin. Jury duty is a burden that ought not to
         be imposed upon the people of a community which has no relation to the litigation.
         In cases which touch the affairs of many persons, there is reason for holding the trial
         in their view and reach . . . . There is a local interest in having localized
         controversies decided at home.
330 U.S. at 508–09. Defendants argue that, because the alleged trade secrets were developed by

MMT in Israel, Jeremy’s employment contract with MMT was executed and performed there, and

the alleged misappropriation of trade secrets “all took place while Jeremy and Gam were in Israel,”

Israel and its courts have a strong interest this dispute, whereas Delaware does not. Defendants

further argue that Israeli law governs the procedural requirements for this derivative action and

substantive Israeli law will likely govern most of PTR’s claims. I agree and conclude that this

dispute lacks any meaningful connection to Delaware and would pose administrative difficulties by

requiring the court to engage in a separate choice-of-law analysis for each of PTR’s claims and,

eventually, to discern and apply Israeli substantive law to some or most claims.

         To determine this dispute’s connection to PTR’s chosen forum, I “consider the locus of the

alleged culpable conduct, often a disputed issue, and the connection of that conduct” to Delaware. 

See Lacey I, 862 F.2d at 48 (citation omitted). In Kisano, where the Third Circuit upheld FNC

dismissal, the court noted in its public interest analysis that the parties “met in Israel, discussed and

negotiated the [relevant transaction] in Israel, discussed the [subject] coal deals in Israel, and most

interactions with each other took place in Israel” or other places outside the plaintiff’s chosen


                                                   17
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 18 of 21 PageID #: 234
 

forum. 737 F.3d at 878. Similarly, Jeremy and Dr. Minkowitz developed the idea of MMT together

in Israel, developed and incorporated MMT there, created Jeremy’s employment contract there, and

based MMT’s operations (including development of the alleged trade secrets) there.12 See, e.g.,

Compl. ¶¶ 14–20, 27, 31, 40, 44. Thus here, as in Kisano, the dispute has strong connections to

Israel and no connection to Delaware other than CardioLync’s incorporation. 737 F.3d at 878. And

while “Delaware has a significant interest in actively overseeing the conduct of those owing

fiduciary duties to the shareholders of Delaware corporations, that interest is also insufficient to

outweigh the locus of the alleged culpable conduct in this case.” See Eurofins, 623 F.3d at 163

(citation omitted).

        As to the difficulties posed by governing law in this case, Piper instructs that FNC “is

designed in part to help courts avoid . . . complex exercises in comparative law.” See 454 U.S. at

251. Thus, “where the court would be required to untangle problems in conflict of laws, and in law

foreign to itself,” the public interest factors point towards dismissal. Id. While PTR admits that

MMT is a creature of Israeli law, PTR does “not concede that Israeli law applies in this matter.” In

fact, PTR resists any choice-of-law analysis at this stage, arguing that “such eventual analysis has

no relevance to resolution of the present [FNC] dispute.” Pl.’s Resp. 28 (citing only Zazzali v.

Hirschler Fleischer, P.C., 482 B.R. 495, 517 (D. Del. 2012), a bankruptcy case that did not involve

an FNC analysis and where the court went on to assume, without holding, that one of two state’s

laws would govern the claim). But Plaintiff’s objection is directly undermined by Supreme Court

precedent. Although one aim of the FNC doctrine is to help courts avoid “untangl[ing] problems in

conflict of laws, and in [foreign law],” the FNC analysis explicitly calls on courts to determine

whether keeping the case would require them to apply foreign law, or two sets of laws. See Piper,
                                                            
12
    I note PTR’s allegation that a “newly-hired team in New York” may have contributed to MMT’s development
in late 2015. Compl. ¶ 42. But this is of only limited significance since Jeremy allegedly refused to cooperate
with them and “never traveled to the United states to visit” them. See Compl. ¶ 44.


                                                       18
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 19 of 21 PageID #: 235
 

454 U.S. at 251, 260 & n.29 (stating that the trial court had properly considered “its own lack of

familiarity with Scottish law” and that a “trial involving two sets of laws would be confusing to a

jury”). It is impossible to carry out this charge without performing at least a limited choice-of-law

analysis. See id. at 260 (holding that the trial court’s choice-of-law analysis, and its consideration of

the practical problems that could flow from applying both Scottish and Pennsylvania law, was

“clearly appropriate under Gilbert”).

        Here, Defendants have set forth a compelling choice-of-law analysis, suggesting that Israeli

law would govern many of PTR’s claims and, in doing so, have highlighted the complex choice-of-

law analyses that would be unavoidable in this case. See Defs.’ MTD 21–29. As established above,

the parties’ dispute over whether the pre-suit demand requirement has been met in the derivative

claim is a question of Israeli corporation law. It also seems clear that Israeli contract law governs

Jeremy’s employment contract with MMT. See Eurofins, 623 F.3d at 162 (in a case involving

breach of contract and fiduciary duty, advising that courts should consider whether the contracts

underlying the dispute are governed by the plaintiff’s chosen forum).13 As for PTR’s nine state law

claims, Defendants correctly state that federal choice of law principles direct the court to apply the

forum state’s choice-of-law rules to determine which state’s substantive law applies. See Defs.’

MTD 25 (citing Fagin v. Gilmartin, 432 F.3d 276, 282 (3d Cir. 2005)). Delaware choice-of-law

rules, in turn, rely on the Restatement’s “most significant relationship test.” Travelers Indem. Co. v.

Lake, 594 A.2d 38, 46–47 (Del. 1991) (adopting the test from the Restatement (Second) of Conflict

of Laws § 145 (1971) to determine choice of law in both tort and contract claims). Without

engaging in a burdensome claim-by-claim analysis, I merely observe that the Restatement’s test

appear to tilt decidedly toward Israeli law here. See, e.g., § 145 cmt. e (when “the interest [at stake]

                                                            
13
    In Eurofins, the court held that FNC dismissal was appropriate even where the underlying contracts were
governed by Delaware law because the litigation focused on the foreign defendant’s alleged breach of contract and
fiduciary duties.

                                                       19
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 20 of 21 PageID #: 236
 

is a business or financial one, such as in the case of unfair competition, [or] interference with

contractual relations,” “a corporation’s principal place of business is a more important contact than

the place of incorporation, and this is particularly true in situations where the corporation does little,

or no, business in the latter place”).14

      E. Balancing

         To prevail on their FNC motion, Defendants must show that the balance of private and

public interest factors “tips decidedly in favor of trial in the foreign forum,” outweighing the

deference to PTR’s chosen forum. See Lacey I, 932 F.2d at 180. Defendants have made that

showing. It is clear that PTR’s choice of forum imposes a “heavy burden” on Defendants in terms

of access to evidence and witnesses, and would pose significant difficulties for the court by

requiring complex choice-of-law analyses and the application of Israeli corporations and substantive

law—all in a case that has only a remote connection to Delaware. See Piper, 454 U.S. at 249.

PTR’s central argument in favor of Delaware is its organization under Delaware law. But today,

“corporations often obtain their charters from states where they no more than maintain an agent to

comply with local requirements, while every other activity is conducted far from the chartering

state.” Koster, 330 U.S. at 527–28. That PTR has chosen to organize under the laws of Delaware is

thus “entitled to little consideration” in the FNC analysis, “which resists formalization and looks to

the realities that make for doing justice.”




                                                            
14
    Even if some of PTR’s claims would be governed by Delaware law, that would not tilt the public interest
analysis against dismissal; FNC dismissal can be appropriate “even where the alternative forum will be faced with
questions of American law,” Eurofins, 623 F.3d at 163.

                                                       20
    Case 1:17-cv-00161-GAM Document 37 Filed 02/21/18 Page 21 of 21 PageID #: 237
 

IV. Conclusion

        I conclude that trial in Israel will “best serve the convenience of the parties and the ends of

justice” and accordingly grant Defendants’ motion to dismiss on FNC grounds, contingent on

Defendants’ consent to personal jurisdiction in that forum.


 
 
                                                              /s/ Gerald Austin McHugh
                                                        United States District Judge

 
 
 
 




                                                   21
